Case 1:22-cv-10904-JSR Document 242-30 Filed 07/25/23 Page 1 of 8




              EXHIBIT 190
Case 1:22-cv-10904-JSR Document 242-30 Filed 07/25/23 Page 2 of 8
Case 1:22-cv-10904-JSR Document 242-30 Filed 07/25/23 Page 3 of 8
Case 1:22-cv-10904-JSR Document 242-30 Filed 07/25/23 Page 4 of 8
Case 1:22-cv-10904-JSR Document 242-30 Filed 07/25/23 Page 5 of 8
Case 1:22-cv-10904-JSR Document 242-30 Filed 07/25/23 Page 6 of 8
Case 1:22-cv-10904-JSR Document 242-30 Filed 07/25/23 Page 7 of 8
Case 1:22-cv-10904-JSR Document 242-30 Filed 07/25/23 Page 8 of 8
